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 8
                             IN THE UNITED STATES DISTRICT COURT
 9
                                EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                       ) Case No.: 1:15-CR-00288 LJO
                                                     )
12            Plaintiff,                             )
                                                     ) JOINT STIPULATION TO CONTINUE
13   vs.                                             )
                                                     ) SENTENCING; AND ORDER
14                                                   )
     FRANCISCA GUISAR TORRES,                        )
15                                                   )
               Defendant.                            )
16                                                   )
                                                     )
17                                                   )
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19          IT IS HEREBY STIPULATED by and between Mark A. Broughton, the attorney for
20
     Defendant Francisca Guisar Torres, and Kathleen Servatius, Assistant United States Attorney,
21
     that the Sentencing Hearing set for Monday, October 16, 2017, at 8:30 a.m., be continued to
22

23   Monday, October 30, 2017, at 8:30 a.m.

24          The continuance is requested by counsel for the Defendant due to the fact that additional
25
     time is needed to review the PSR with Ms. Torres, and file our objections, should there be any.
26
            Counsel for Defendant has spoken to the Assistant U.S. Attorney, Kathleen Servatius,
27
     who has no objections to this continuance.
28



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 1         IT IS SO STIPULATED.
 2
     DATED: September 25, 2017                /s/ Kathleen A. Servatius
 3
                                              KATHLEEN A. SERVATIUS
 4
                                              Assistant United States Attorney

 5
     DATED: September 25, 2017                /s/Mark A. Broughton
 6                                            MARK A. BROUGHTON
                                              Attorney for FRANCISCA G. TORRES
 7

 8

 9                                     ORDER
10
     IT IS SO ORDERED.
11

12      Dated:   September 26, 2017            /s/ Lawrence J. O’Neill _____
                                        UNITED STATES CHIEF DISTRICT JUDGE
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